                                                                           The Honorable:                          Mary Jo Heston
                                                                           Chapter 7
                                                                           Location:                                          Tacoma
                                                                           Hearing Date:
                                                                           Hearing Time:                                 09:00 a.m.
                                                                           Response Date:


                                        UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WASHINGTON




    In re: STEWART, HEATHER ANN                                  §   Case No. 17-41711
                                                                 §
                                                                 §
                                                                 §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 04/28/2017. The
    undersigned trustee was appointed on 04/28/2017.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         186,690.00
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                 155,463.37
                            Administrative expenses                                16,208.96
                            Bank service fees                                           6.16
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand      of1         $           15,011.51
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 10/02/2017 and the deadline for filing
    governmental claims was 10/02/2017. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $5,571.50. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $5,571.50, for a
    total compensation of $5,571.502. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $243.74 for total expenses
    of $243.742.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 11/26/2018                                     By: /s/ Kathryn A. Ellis
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                     Exhibit A
                                       Individual Estate Property Record and Report                                                                  Page: 1

                                                        Asset Cases
Case No.:    17-41711                                                                       Trustee Name:      (670270) Kathryn A. Ellis
Case Name:        STEWART, HEATHER ANN                                                      Date Filed (f) or Converted (c): 04/28/2017 (f)
                                                                                            § 341(a) Meeting Date:       06/05/2017
For Period Ending:        11/26/2018                                                        Claims Bar Date:      10/02/2017

                                   1                                2                      3                      4                   5                   6

                           Asset Description                    Petition/          Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)      Unscheduled         (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                 Values                  Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                 Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                            and Other Costs)

    1       residence                                           120,950.00                          0.00                           186,690.00                          FA

    2       2007 Toyota Prius                                       4,450.00                        0.00                                   0.00                        FA

    3       misc. household goods and furnishings                       578.00                      0.00                                   0.00                        FA

    4       2 guitars & 2 ukeleles                                      220.00                      0.00                                   0.00                        FA

    5       Samsung TV                                                  200.00                      0.00                                   0.00                        FA

    6       JVC TV                                                      100.00                      0.00                                   0.00                        FA

    7       wireless stereo                                              20.00                      0.00                                   0.00                        FA

    8       Dell laptop                                                  20.00                      0.00                                   0.00                        FA

    9       2 iPads                                                     100.00                      0.00                                   0.00                        FA

   10       100 books                                                   100.00                      0.00                                   0.00                        FA

   11       2 framed prints                                             100.00                      0.00                                   0.00                        FA

   12       bicycle                                                      50.00                      0.00                                   0.00                        FA

   13       treadmill                                                   100.00                      0.00                                   0.00                        FA

   14       Kate Spade & Michael Kors handbag                           150.00                      0.00                                   0.00                        FA

   15       clothing                                                    200.00                      0.00                                   0.00                        FA

   16       shoes                                                       100.00                      0.00                                   0.00                        FA

   17       3 cats                                                        0.00                      0.00                                   0.00                        FA

   18       cash on hand                                                  0.00                      0.00                                   0.00                        FA

   19       Chase ****3794                                               50.00                      0.00                                   0.00                        FA

   20       PayPal account                                                0.00                      0.00                                   0.00                        FA

   21       401 (k)                                              38,521.57                          0.00                                   0.00                        FA

   22       Wells Fargo CS Custodian Benefit Trade                  Unknown                         0.00                                   0.00                        FA
            IRA

   23       Farmers flexible universal life insurance               2,238.37                        0.00                                   0.00                        FA
            policy

   24       potential SSDI claim                                          0.00                      0.00                                   0.00                        FA

  24        Assets Totals (Excluding unknown values)           $168,247.94                         $0.00                         $186,690.00                     $0.00




              Case
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                   (5/1/2011)                              Doc 57       Filed 01/31/19             Ent. 01/31/19 10:22:26                  Pg. 3 of 13
                                                        Form 1
                                                                                                                                 Exhibit A
                                    Individual Estate Property Record and Report                                                 Page: 2

                                                     Asset Cases
Case No.:   17-41711                                                     Trustee Name:      (670270) Kathryn A. Ellis
Case Name:     STEWART, HEATHER ANN                                      Date Filed (f) or Converted (c): 04/28/2017 (f)
                                                                         § 341(a) Meeting Date:     06/05/2017
For Period Ending:     11/26/2018                                        Claims Bar Date:     10/02/2017


Major Activities Affecting Case Closing:




Initial Projected Date Of Final Report (TFR): 03/31/2019         Current Projected Date Of Final Report (TFR):      03/31/2019




              Case
UST Form 101-7-TFR    17-41711-MJH
                   (5/1/2011)                  Doc 57      Filed 01/31/19      Ent. 01/31/19 10:22:26                   Pg. 4 of 13
                                                               Form 2                                                                                   Exhibit B
                                                                                                                                                        Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:                 17-41711                                              Trustee Name:                     Kathryn A. Ellis (670270)
Case Name:                STEWART, HEATHER ANN                                  Bank Name:                        Rabobank, N.A.
Taxpayer ID #:            **-***7987                                            Account #:                        ******7000 Checking
For Period Ending: 11/26/2018                                                   Blanket Bond (per case limit): $78,753,461.00
                                                                                Separate Bond (if applicable): N/A
    1             2                        3                                          4                                5                  6                       7

 Trans.        Check or       Paid To / Received From           Description of Transaction            Uniform       Deposit          Disbursement        Account Balance
  Date          Ref. #                                                                               Tran. Code       $                    $

 10/15/18                 Law Office of Wanda Reif Nuxoll    sale of real property                                     15,000.00                                      15,000.00
                          PS

                 {1}      Thomas McGrath                     gross sale price                        1110-000                                                         15,000.00

                                                                                     $171,690.00

                 {1}      Thomas McGrath                     buyer's premium                         1110-000                                                         15,000.00

                                                                                      $15,000.00

                          property taxes                     buyer's contribution towards            2820-000                                                         15,000.00
                                                             property taxes

                                                                                          $396.71

                          Somerset Place Owners              buyer's contribution towards HOA        4120-000                                                         15,000.00
                          Association                        dues

                                                                                          $237.42

                          Seterus                            first Deed of Trust                     4110-000                                                         15,000.00

                                                                                     -$145,117.86

                          Bank of America NA                 2nd Deed of Trust                       4110-000                                                         15,000.00

                                                                                       -$6,418.70

                          Somerset Place Owners              HOA dues                                4120-000                                                         15,000.00
                          Association
                                                                                       -$4,181.90

                          property taxes                     property taxes                          2820-000                                                         15,000.00

                                                                                          -$861.90

                          Robin Tomazic                      real estate commissions                 3510-000                                                         15,000.00

                                                                                      -$10,301.40

                          Robin Tomazic                      reimbursement to real estate            3520-000                                                         15,000.00
                                                             agent for HOA Resale Certificate

                                                                                          -$190.25

                          excise tax                         excise tax                              2820-000                                                         15,000.00

                                                                                       -$3,328.08

                          closing costs                      closing costs                           2500-000                                                         15,000.00

                                                                                       -$1,924.04

 10/31/18                 Rabobank, N.A.                     Bank and Technology Services            2600-000                                   6.16                  14,993.84
                                                             Fees

 11/05/18                 Seterus                            refund of lienholder overpayment        4110-000                                 -17.67                  15,011.51

                                               COLUMN TOTALS                                                           15,000.00               -11.51                 $15,011.51
                                                     Less: Bank Transfers/CDs                                                 0.00              0.00
                                               Subtotal                                                                15,000.00               -11.51
        true
                                                     Less: Payments to Debtors                                                                  0.00

                                               NET Receipts / Disbursements                                           $15,000.00              -$11.51


                                                                                                                                                          false




                 Case 17-41711-MJH
{ } Asset Reference(s)                      Doc 57
                       UST Form 101-7-TFR (5/1/2011)                         Filed 01/31/19             Ent. 01/31/19 10:22:26         Pg.
                                                                                                                         ! - transaction has 5
                                                                                                                                             notof 13cleared
                                                                                                                                                 been
                                                     Form 2                                                                 Exhibit B
                                                                                                                            Page: 2
                                     Cash Receipts And Disbursements Record
Case No.:         17-41711                                 Trustee Name:                   Kathryn A. Ellis (670270)
Case Name:        STEWART, HEATHER ANN                     Bank Name:                      Rabobank, N.A.
Taxpayer ID #:    **-***7987                               Account #:                      ******7000 Checking
For Period Ending: 11/26/2018                              Blanket Bond (per case limit): $78,753,461.00
                                                           Separate Bond (if applicable): N/A




                                                                                              NET                      ACCOUNT
                               TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS                 BALANCES
                               ******7000 Checking                            $15,000.00           -$11.51                 $15,011.51

                                                                              $15,000.00                    -$11.51         $15,011.51




              Case
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                   (5/1/2011)                    Doc 57   Filed 01/31/19        Ent. 01/31/19 10:22:26                 Pg. 6 of 13
                                                                                                                          Page: 1

                                                         Exhibit C
                                              Analysis of Claims Register
                                Case:17-41711                        HEATHER ANN STEWART
                                                                                Claims Bar Date: 10/02/17


 Claim                Claimant Name/                  Claim Type/                 Amount Filed/         Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority               Date Filed                   Allowed           to Date        Balance

S1       Seterus,                                    Secured                          $145,117.86    $145,100.19           $0.00
         <4110-000 Real Estate - Consensual Liens    10/15/18                         $145,100.19
         (mortgages, deeds of trust)>
         , 100

S2       Bank of America NA,                         Secured                           $30,633.00      $6,418.70           $0.00
         <4110-000 Real Estate - Consensual Liens    10/15/18                            $6,418.70
         (mortgages, deeds of trust)>
         , 100

S3       Somerset Place Owners Association,          Secured                             $4,181.90     $3,944.48           $0.00
         <4120-000 Real Estate - Non-consensual      10/15/18                            $3,944.48
         Liens (judgments)>
         , 100

         Pierce County Assessor                      Secured                                $0.00           $0.00          $0.00
         2401 S 35th St
                                                     04/27/17                               $0.00
         Room 142
         Tacoma, WA 98409
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 100

         Real Time Resolutions                       Secured                                $0.00           $0.00          $0.00
         Attn: Bankruptcy
                                                     04/27/17                               $0.00
         Po Box 36655
         Dallas, TX 75235
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 100

         Seterus Inc                                 Secured                                $0.00           $0.00          $0.00
         14523 Sw Millikan Way St
                                                     04/27/17                               $0.00
         Beavertton, OR 97005
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 100

         Somerset Place                              Secured                                $0.00           $0.00          $0.00
         % HOA Community
                                                     04/27/17                               $0.00
         Solutions
         Las Vegas, NV 89193
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 100



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                                                          Exhibit C
                                                Analysis of Claims Register
                                  Case:17-41711                        HEATHER ANN STEWART
                                                                                  Claims Bar Date: 10/02/17

 Claim                   Claimant Name/               Claim Type/                   Amount Filed/        Paid          Claim
                                                                      Claim Ref
  No.                  <Category>, Priority            Date Filed                     Allowed          to Date        Balance

FEE      Kathryn A. Ellis                            Administrative                        $5,571.50          $0.00     $5,571.50
         5506 6TH Ave. S.
                                                     11/15/18                              $5,571.50
         Suite 207
         Seattle, WA 98108
         <2100-000 Trustee Compensation>
         , 200

TE       Kathryn A. Ellis                            Administrative                         $243.74           $0.00       $243.74
         5506 6th Ave S
                                                     10/23/18                               $243.74
         Suite 207
         Seattle, WA 98108
         <2200-000 Trustee Expenses>
         , 200

         Robin Tomazic,                              Administrative                      $10,301.40    $10,301.40           $0.00
         <3510-000 Realtor for Trustee Fees (Real    10/15/18                            $10,301.40
         Estate Commissions)>
         , 200

         Robin Tomazic,                              Administrative                         $190.25      $190.25            $0.00
         <3520-000 Realtor for Trustee Expenses>     10/15/18                               $190.25
         , 200

         closing costs,                              Administrative                        $1,924.04    $1,924.04           $0.00
         <2500-000 Costs re Sale of Property>        10/15/18                              $1,924.04
         , 200

         excise tax,                                 Administrative                        $3,328.08    $3,328.08           $0.00
         <2820-000 Other State or Local Taxes (post- 10/15/18                              $3,328.08
         petition)>
         , 200

         property taxes,                             Administrative                         $861.90      $465.19            $0.00
         <2820-000 Other State or Local Taxes (post- 10/15/18                               $465.19
         petition)>
         , 200




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                                                        Exhibit C
                                               Analysis of Claims Register
                                Case:17-41711                       HEATHER ANN STEWART
                                                                               Claims Bar Date: 10/02/17

 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

         Bank Of America                            Unsecured                              $0.00           $0.00         $0.00
         Nc4-105-03-14
                                                    04/27/17                               $0.00
         Po Box 26012
         Greensboro, NC 27410
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

         Capital One                                Unsecured                              $0.00           $0.00         $0.00
         15000 Capital One Dr
                                                    04/27/17                               $0.00
         Richmond, VA 23238
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

         Mohela/Dept of Ed                          Unsecured                              $0.00           $0.00         $0.00
         633 Spirit Dr
                                                    04/27/17                               $0.00
         Chesterfield, MO 63005
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

         TRA Medical Imaging                        Unsecured                              $0.00           $0.00         $0.00
         PO Box 1535
                                                    04/27/17                               $0.00
         Tacoma, WA 98401
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

         The Sound Partnership                      Unsecured                              $0.00           $0.00         $0.00
         PO Box 1357
                                                    04/27/17                               $0.00
         601 S 8th Street
         Tacoma, WA 98401
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

1        Capital One Bank (USA), N.A.               Unsecured                           $3,946.45          $0.00     $3,946.45
         PO Box 71083
                                                    07/28/17                            $3,946.45
         Charlotte, NC 28272-1083
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                           Exhibit C
                                                  Analysis of Claims Register
                                 Case:17-41711                         HEATHER ANN STEWART
                                                                                  Claims Bar Date: 10/02/17

 Claim                 Claimant Name/                   Claim Type/                 Amount Filed/        Paid          Claim
                                                                      Claim Ref
  No.                <Category>, Priority                Date Filed                   Allowed          to Date        Balance

1I       Capital One Bank (USA), N.A.                  Unsecured                                N/A           $0.00        $67.84
         PO Box 71083
                                                       11/15/18                              $67.84
         Charlotte, NC 28272-1083
         <7990-000 Surplus Case Interest on
         Unsecured Claims (including priority)>
         , 640

2        Bank of America NA                            Unsecured                           $5,094.40          $0.00     $5,094.40
         PO Box 982284
                                                       11/14/17                            $5,094.40
         El Paso, TX 79998-2238
         <7200-000 Section 726(a)(3) Tardily Filed
         General Unsecured Claims>
         , 620

2I       Bank of America NA                            Unsecured                                N/A           $0.00        $87.58
         PO Box 982284
                                                       11/15/18                              $87.58
         El Paso, TX 79998-2238
         <7990-000 Surplus Case Interest on
         Unsecured Claims (including priority)>
         , 640


                                                                                         Case Total:   $171,672.33     $15,011.51




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                                       TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                   Exhibit D


    Case No.: 17-41711
    Case Name: HEATHER ANN STEWART
    Trustee Name: Kathryn A. Ellis

                                                            Balance on hand:       $                           15,011.51

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                               Claim        Allowed          Interim         Proposed
  No.                                                            Asserted        Amount       Payments to          Payment
                                                                                 of Claim            Date

  S1         Seterus                                            145,117.86      145,100.19      145,100.19                0.00
  S2         Bank of America NA                                  30,633.00        6,418.70        6,418.70                0.00
  S3         Somerset Place Owners Association                    4,181.90        3,944.48        3,944.48                0.00

                                                     Total to be paid to secured creditors:         $                   0.00
                                                     Remaining balance:                             $              15,011.51

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                                 Total          Interim         Proposed
                                                                               Requested        Payments           Payment
                                                                                                  to Date

  Trustee, Fees - Kathryn A. Ellis                                                5,571.50              0.00        5,571.50
  Trustee, Expenses - Kathryn A. Ellis                                             243.74               0.00         243.74
  Costs re Sale of Property - closing costs                                       1,924.04        1,924.04                0.00
  Other State or Local Taxes (post-petition) - excise tax                         3,328.08        3,328.08                0.00
  Other State or Local Taxes (post-petition) - property taxes                      465.19          465.19                 0.00
  Realtor for Trustee Fees (Real Estate Commissions) - Robin                     10,301.40       10,301.40                0.00
  Tomazic
  Realtor for Trustee Expenses - Robin Tomazic                                     190.25          190.25                 0.00
                        Total to be paid for chapter 7 administrative expenses:                     $               5,815.24
                        Remaining balance:                                                          $               9,196.27

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                           Total           Interim           Proposed
                                                                             Requested       Payments          Payment

                                                              None


                       Total to be paid for prior chapter administrative expenses:                  $                   0.00
                       Remaining balance:                                                           $               9,196.27



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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

             Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


                                                      Total to be paid for priority claims:      $               0.00
                                                      Remaining balance:                         $           9,196.27

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $3,946.45 have been allowed and will be
      paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
      allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if applicable).

             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  1           Capital One Bank (USA), N.A.                    3,946.45                    0.00               3,946.45
                          Total to be paid for timely general unsecured claims:                  $           3,946.45
                          Remaining balance:                                                     $           5,249.82

              Tardily filed claims of general (unsecured) creditors totaling $5,094.40 have been allowed and
      will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 100.0 percent, plus
      interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                                 Allowed Amount        Interim Payments               Proposed
  No.                                                         of Claim                 to Date               Payment

  2           Bank of America NA                              5,094.40                    0.00               5,094.40

                          Total to be paid for tardily filed general unsecured claims:           $           5,094.40
                          Remaining balance:                                                     $             155.42

            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
      subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
      allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
      subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
      subordinated by the Court are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None


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                                                 Total to be paid for subordinated claims: $                    0.00
                                                 Remaining balance:                        $                  155.42

            To the extent funds remain after payment in full of all allowed claims, interest will be paid at the
    legal rate of 1.07% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $155.42. The
    amounts proposed for payment to each claimant, listed above, shall be increased to include the
    applicable interest.
            The amount of surplus returned to the debtor after payment of all claims and interest is $0.00.




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